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                                                                                 United States District Court
                                                                                   Southern District of Texas

                                                                                      ENTERED
UNITED STATES DISTRICT COURT                         September
                                     SOUTHERN DISTRICT OF TEXAS  18, 2023
                        HOUSTON DIVISION              Nathan Ochsner, Clerk




Weatherford U.S., L.P., et al.,                §
                                               §
versus                                         §                   Civil Action 4:23−cv−03416
                                               §
Iron IQ, Inc..                                 §

                                  Order Setting Conference

1.   Counsel shall appear for an initial pretrial conference:

                             December 27, 2023, at 11:25 AM
                    Before United States Magistrate Judge Sam S. Sheldon
                                     7th Floor, by video
                                       515 Rusk Street
                                     Houston, TX 77002

2.   Within 15 days of receiving this order, counsel must file a list of all entities that are
     financially interested in this litigation, including parent, subsidiary, and affiliated
     corporations as well as all known attorneys of record. When a group description is
     effective disclosure, an individual listing is not necessary. Underline the names of
     corporations with publicly traded securities. Counsel must promptly amend the list when
     parties are added or additional interested parties are identified.

3.   The plaintiff must serve the defendant within 90 days of filing the complaint. The
     plaintiff's failure to file proof of service within that time may result in dismissal by the
     court on its own initiative. See Fed. R. Civ. P. Rule 4(m).

4.   At least 14 days before the conference, counsel must file a joint case management plan
     listing the identities and purposes of witnesses, sources and types of documents, and
     other requirements for a prompt and inexpensive preparation of this case for disposition
     by motion or trial. See Fed R. Civ. P. Rule 26(f).

5.   The parties shall agree on additional deadlines for completion of pretrial matters
     including all expert designation dates and discovery cut−offs as well as dates for
     exchanging of initial disclosures if they have not already been completed.
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6.   By the conference, counsel will have interviewed their clients and read all relevant
     documents; readily available documents will have been exchanged at the plan meeting at
     the latest.

7.   The court will set a schedule for initial preparation and may rule on motions pending or
     made at the conference.

8.   Counsel in charge of a case must appear at all hearings or conferences. A motion to
     appear on behalf of the attorney−in−charge will be granted only upon showing of good
     cause, and only if the attorney to be substituted is familiar with the case and has
     authority to bind the client. The motion to appear must be ruled on in advance of the
     hearing or conference date.

9.   Counsel who appear at the conference must have authority to bind the client and must
     know the facts.

10. Counsel must have discussed alternative dispute resolution with their clients and each
    other; at the conference, the court will consider whether a method of ADR is suited to
    this case.

11. The court will enter a scheduling order and may rule on any pending motions at the
    conference.

12. The Plaintiff(s), or the party removing this suit from state court, SHALL SERVE THE
    OPPOSING PARTY OR PARTIES with copies of:

     A. this ORDER FOR CONFERENCE,
     B. the form for the JOINT REPORT ON MEETING REQUIRED BY RULE 26(f)
        AND JOINT DISCOVERY/CASE MANAGEMENT PLAN.
     C. JUDGE HANEN'S RULES OF COURT WHICH CAN BE FOUND IN THE
        COURT'S WEBSITE AT HTTP://WWW.TXS.USCOURTS.GOV.

13. These papers SHALL BE SERVED CONTEMPORANEOUSLY WITH THE
    SUMMONS AND COMPLAINT.

14. The parties will be bound by the provisions contained in this ORDER, the papers
    mentioned in No. 4 above, and the dates set out in the scheduling order to be entered in
    this case.

15. Failure to comply with this order may result in sanctions, including dismissal of the
    action and assessment of expenses.


                                                         BY THE ORDER OF THE COURT
